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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UBIQUITI INC.,

                                      Plaintiff,

       v.                                                            Civil No.: 20-CV-1312
PERASO TECHNOLOGIES INC., WILLIAM A.
McLEAN, WILLIAM JAMES WHITAKER, SHAWN
ABBOTT, DAVID ADDERLEY, IMED ZINE and
RIADH ZINE,

                                      Defendants.


                                 NOTICE OF ORDER
                            GRANTING PROVISIONAL RELIEF

               PLEASE TAKE NOTICE THAT:

               On June 10, 2020, the undersigned counsel filed a Notice of Chapter 15

Bankruptcy Proceeding in the Southern District of New York and Interim Stay Related to a

Recognition Proceeding for Restructuring Under Canada’s Companies’ Creditors Arrangement

Act (Dkt. 57). The Notice indicated that the Honorable Sean H. Lane of the United States

Bankruptcy Court, Southern District of New York, had granted an interim stay of this action as

to all Defendants on the record.

               The Bankruptcy Court subsequently issued an Order Granting Provisional Relief,

memorializing the interim stay as to all Defendants. A copy of the Order, giving full force and

effect to the Initial Order of the Ontario Superior Court of Justice, is attached as Exhibit A. See

Ex. A at 3, ¶ 2.
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Dated: June 11, 2020


                                             Respectfully,



                                                   s/Jodyann Galvin
                                             Jodyann Galvin
                                             HODGSON RUSS LLP
                                             Attorneys for Defendants Peraso
                                             Technologies Inc., William A. McLean,
                                             William James Whitaker, David Adderley,
                                             Imed Zine, and Riadh Zine
                                             140 Pearl Street, Suite 100
                                             Buffalo, NY 14202
                                             716-848-1520




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